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            EXHIBIT 8·
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               UNITED STATES DISTRICT COURT

                DISTRICT OF MASSACHUSETTS



    IN RE:   PHARMACEUTICAL

    INDUSTRY AVERAGE WHOLESALE       MDL No. 1456

    PRICE LITIGATION

                                     Master File

                                     No. 01-CV-12257-PBS

    THIS DOCUMENT RELATES TO:

                                     Subcategory

                                     No. 06-CV-11337-PBS

    United States of America,

    ex rel. Ven-A-Care of the

    Florida Keys, Inc., v.

    Abbott Laboratories, Inc.,

    CIVIL ACTION NO. 06-11337-PBS)      VOLUME II



              Videotaped Deposition of JAMES W.

    HUGHES, Ph.D., at 77 West Wacker Drive, 35th

    Floor, Chicago, Illinois, commencing at the hour

    of 9:09 a.m. on Wednesday, May 6, 2009.




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 1            PROCEEDINGS                                 1    correct Abbott NDCs were in every array.
 2                                                        2        A. Okay. So that is the point that he
 3        THE VIDEOGRAPHER: Today's date is May           3    looked to find a price that matched an Abbott
 4   6,2009. We are on the record at 9:09 a.m.            4    price but doesn't offer, doesn't know with any
 5                                                        5    degree of certainty that it is in fact the Abbott
 6             JAMES W. HUGHES,                           6    price, that there was not some other drug, some
 7   having been previously duly sworn, was examined      7    other NDC, that was either in the array
 8   and testified further as follows:                     8   legitimately or in the array by mistake that could
 9                                                         9   have that price.
10             EXAMINAnON (Continuing)                    10          He said that he had, in his rebuttal he
11   BY MR. LAVTI'ffi:                                    11   says that he had checked, but, again, it's not
12       Q. Welcome back, Dr. Hughes.                     12   clear to me exactly what he had checked.
13       A. Thank you.                                    13          So as to the exact, I'm sorry,
14       Q. I just wanted to ask some follow-up           14   scientific methodology?
15   questions about some of your points that you made    15       Q. Yes.
16   regarding Dr. Duggan's analysis of the Medicare      16      A. Okay. So I mean he's forming, in effect
17   arrays.                                              17   he's forming a hypothesis, and the hypothesis is
18       A. Yes.                                          18   that $10.16 whenever I see that, that's always an
19       Q. And let me just go through the points.        19   Abbott price.
20   I think I might be able to ask one question about    20          Again, the idea is that it's an
21   all ofthem. If we need to separate them out,         21   assumption on his part. There's no scientific
22   just let me know.                                    22   basis on his part for assuming that every time you
                                             Page 303                                                     Page 305

 1          You said that he hasn't shown the             1    look at a Medicare array and see $10.16, there's
 2   correct Abbott NDCs were in each array. He hasn't    2    no scientific principle, no scientific
 3   shown that Abbott's price moved the median.          3    methodology, that says oh, well, that must be an
 4          He hasn't shown all the arrays to be,         4    Abbott price.
 5   well, I have the word "identical," but similar       5           So, again, when one is making an
 6   enough within the sample or the extrapolation.       6    assumption, and as I said before, I'm not against
 7          There's no evidence that Abbott was the        7   assumptions, I'm not against all assumptions, but
 8   only manufacturer whose AWP was higher than the       8   you need to provide, you need to provide a basis
 9   actual average selling price. And that he hasn't      9   in the evidentiary record or some sort of basis,
10   shown that a hundred percent of the sales of the     10   economic theory if you like, that ifthere's some
11   products under that J-Code were of Abbott            11   economic law that says $10.16 is a price that is
12   products.                                            12   reserved for Abbott NDCs -- I'm being facetious
13          And the question about all of those is        13   but you understand what I'm saying -- that he
14   what is the underlying scientific methodology that   14   provides no such basis to support that assumption
15   you say Dr. Duggan failed to follow with respect     15   that he's making.
16   to each of those issues?                             16          Again, the evidence that he does have
17       A. Why don't you give them to me one at a        17   given that there's no set methodology for forming
18   time, and then we'll run through them because I      18   arrays, there's no set methodology for deciding
19   understand it forms a single question but it         19   whose products are in the arrays, which products
20   doesn't really form a single answer.                 20   are in the arrays, products get into arrays by
21       Q. Okay. Fair enough.                            21   mistake, products of the wrong dosage, products of
22          So first, that he hasn't shown the            22   the wrong type, get into the arrays.
                                     .~.




                                                                                  3 (Pages 302 to 305)
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 1   put them out there. And then it's up to the          1    analysis that as one ofthe assumptions that their
 2   reader to decide, and this is true in the economic   2    analysis is based on is that demand curves don't
 3   literature as I understand it, you put your          3    really slope downward but demand curves slope
 4   assumptions forward because sometimes you have to    4    upward, first of all, that assumption needs to be
 5   make them in order to move the analysis forward,      5   stated.
 6   and then it's up to the reader, it's up to the        6          Second of all, the researcher needs to
 7   journal editor, it's up to referees, ifthe paper      7   put a reason why contrary to everything else
 8   is published it's up to the people who read it to     8   everybody knows, everybody believes about demand
 9   decide whether they think that assumption is well     9   curves, this person is saying that they slope
10   founded.                                             10   upwards. And then you put the work out there and
11          There's plenty of examples of say             11   people, readers, will choose to believe or not
12   journal articles where a researcher will find a      12   believe your work based on whether they believe or
13   certain result, you know, particularly in economic   13   don't believe that assumption.
14   theory. But the result may depend on an              14       Q. All right. So when Dr. Duggan fails to
15   assumption that nobody really believes in.           15   show the correct Abbott NDCs were in the array,
16          So that piece of work may go forward,         16   he's failed to state his assumption and he's
17   may even be published, but it doesn't have much      17   failed to support his assumption?
18   impact because the consensus of the readers is       18          MR. BERLIN: Objection, form.
19   that that assumption just doesn't make any sense     19          THE WITNESS: Well, yes, he's failed to
20   under the circumstances.                             20   state his assumption, he's failed to support his
21   BY MR. LAVINE:                                       21   assumption.
22       Q. SO when Dr. Duggan in his analysis fails      22          But, remember, he's assuming that these
                                              Page 311                                                   Page 313

 1   to show the correct Abbott NDCs were in the          1    are Abbott NDCs. He's using that to calculate his
 2   arrays, that fails to meet a standard in economics   2    damage calculation, he's using it to calculate his
 3   of not being allowed to make unfounded               3    damages for that carrier for that period. He's
 4   assumptions?                                         4    then attributing a hundred percent of that damage
 5       A. State your assumptions and state your         5    to Abbott.
 6   foundation for the assumptions, neither of which      6         It certainly seems well within the
 7   Dr. Duggan does, that's my criticism, all right.      7   expectations of best practices in economics that
 8          Then it's up to readers to decide              8   you provide some basis for the belief that just
 9   whether or not that's a reasonable assumption         9   because I see $10.16 that that is representative
10   under the circumstances.                             10   of an Abbott NDC and not representative of
11       Q. I just want to make sure I'm                  11   something that's in there either intentionally or
12   understanding.                                       12   by mistake. And he fails to do that.
13          One of the critiques is that Dr. Duggan       13   BY MR. LAVINE:
14   hasn't shown the correct NDCs were in the array,     14      Q. Where would I go to see an objective
15   and the standard that he's failing to meet is the    15   description of those requirements you just
16   requirement that in economic analysis your           16   described?
17   assumptions need to be stated, and he's failed to    17         MR. BERLIN: Objection, form.
18   do that.                                             18         THE WITNESS: Could you read back my
19       A. The assumptions need to be stated, and        19   response, please, my last response.
20   they need to be supported. You need to say here's    20             (The record was read back as
21   why I'm making this assumption.                      21   requested.)
22          I mean if somebody does an economic           22         THE WITNESS: As I was saying yesterday,

                                                                                  5 (Pages 310 to 313)
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 1   when one's performing, when one uses                  1        accuracy, he offers no confidence intervals, he
 2   extrapolation, one's by definition introducing        2        offers no test of statistical significance.
 3   error into the analysis because you are not using     3                He offers nothing of the sort, nothing
 4   actual data, you're extrapolating from one            4        of the type of thing that it would be standard
 5   situation into another.                               5        practice, and I'm sure is contained in every bit
 6          So statistically speaking, you're going        6        of Dr. Duggan's published econometric work, the
 7   to be introducing error because you're creating       7        measures of accuracy and the measures of goodness
 8   data, you're not using actual data.                   8        of fit and all of these other measures that
 9          That error from extrapolation is going         9        economists and statisticians typically use to
10   to be compounded if where you're extrapolating to,   10        measure the accuracy of somebody's estimation.
11   the data that you're extrapolating to, in this       11                We have extrapolations with reasons to
12   case -- excuse me. Let me try that again.            12        believe that there's been error introduced to
13          The data that you're using for the            13        these extrapolations.
14   extrapolation, in this case the purported Abbott     14                First of all, from the very act of
15   NDC that he says that he sees in arrays, if that's   15        extrapolation. And, secondly, because of the lack
16   not accurate he's introduced yet another degree of   16        of certainty or the lack of evidence offered that
17   error into his extrapolations.                       17        he actually has the correct NDCs in the array.
18          MR. LAVINE: I object, move to strike as       18                There are lots of things in statistics
19   nonresponsive.                                       19        books and lots of things in econometrics books
20   BY MR. LAVINE:                                       20        that talk to how regression analysis, which is not
21       Q. My question was is there an objective         21        what Dr. Duggan has done here, but how economic
22   source, a peer-reviewed material, a learned          22        analysis generally is affected when you think you
                                             Page 315                                                         Page 317

 1 treatise, anything of the sort, that would              1        have one variable and you actually have something
 2 articulate the standards that you're describing so      2        else.
 3 that we could look it up and determine whether or       3               And there are ways for approaching those
 4 not Professor Duggan was meeting those standards?       4        problems, there are ways for handling those
 5      A. Well, one could look to an econometrics         5        problems.
 6 book at the problems that are introduced into           6               When one is faced with such a problem in
 7 estimation when you have problems, so-called            7        an econometric analysis, one acknowledges the fact
 8 errors in variable.                                     8        and then either takes corrective action or adjusts
 9      Q. What would the rule say?                        9        their standard, does adjustments to standard
l O A . The rule would say is that when your              10        errors and does adjustments to their confidence
11 independent variables are mismeasured, your            11        intervals to take those things into account.
12 estimates lose precision.                              12               None of that's done here. We have no
13      Q. SO is that the standard that we should         13        reason to accept the accuracy of Dr. Duggan's
14 use to judge whether or not Dr. Duggan handled         14        extrapolations but Dr. Duggan's word that these
15 things appropriately with respect to showing the       15        are all Abbott NDCs.
16 Abbott NDCs were in the array?                         16               And given, you know, he's a weIl­
17         MR. BERLIN: Objection, form.                   l 7       published empirical economist, just giving in the
18         THE WITNESS: My objection to Dr.               18        academic world, in academic research, just giving
19 Duggan's analysis is we have to rely on his word       19        the editor, or giving reviewers your word that
2 0 for how accurate these extrapolations are.            20        these are really good estimates would not fly.
21         He's not performing anywhere in his            21               That's my objection, is that this is not
2 2 report, he performs no statistical test of            22        meeting any sort of standard of accuracy that's

                                                                                      6 (Pages 314 to 317)
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 1         Eli Lilly was the innovator. That's             1  goes through.
 2  right. I'm sorry.                                      2         The DRA didn't end up being implemented
 3     Q. Are you thinking perhaps erythromycin?           3  as yet, but yet the states were undergoing
 4     A. Correct.                                         4  precisely those reviews and at least in the case
 5     Q. Abbott was the branded innovator.                5  of Texas were making such determinations.
 6     A. Was the branded innovator, yes.                  6     Q. Okay. Well, when it came to IV
 7     Q. As an economist, how much should, in             7  pharmacy, how many states that had already
 8  your but-for world, how much should the states         8  increased their dispensing fees conduct a review
 9  have increased their dispensing fees for the drugs     9  and said we have to increase them more?
lOin question when Abbott reduced its price reports       l O A . I don't know the answer to that.
11 in the 2000, 2001 timeframe?                           11     Q. SO let me get this straight. Let's
12         MR. BERLIN: Objection, form.                   12 assume that the dispensing fees for a particular
13         THE WITNESS: I've not done calculation         13 state are adequate, according to your whatever you
14 or the surveys or anything that would need to be       14 would decide would be adequate, we'll make you the
15 done to ascertain that. So I don't know.               15 Zarr, the Medicaid Zarr, and dispensing fees are
16 BY MR. BREEN:                                          16 adequate at a certain point in time.
17     Q. But it's your opinion they should have;         17         Abbott decides though that they're going
18 right?                                                 18 to increase their price reports a thousand
19     A. It's my opinion that pharmacies would           19 percent. So that their AWP is a thousand percent
2 a have found the reimbursements in line with Dr.        2 a higher than the actual selling price generally and
2 1 Duggan's reimbursements to be unremunerative.         21 currently paid in the marketplace for the drug.
22     Q. My question is how much should they have        22     A. A thousand percent, but it may be $2 or
                                             Page 563                                                        Page 565

 1   increased their dispensing fee for the Abbott         1       $3 that we're actually talking about.
 2   drugs when Abbott reported lower prices in the        2           Q. Well, maybe it's $2 or $3, but when you
 3   2000,2001 timeframe, according to your opinion?       3       do infusion pharmacy how many, don't you have to
 4          MR. BERLIN: Same objection.                    4       use these bags of solutions every time you give a
 5          THE WITNESS: Again, I don't have a             5       prescription?
 6   number. I have not done the calculation.              6           A. It's my understanding it's close to that
 7          But we have seen what the administration       7       at least, yes.
 8   fees were increased by under the MMA, which was a     8           Q. SO it's $2 to $3 on the bag and then
 9   substantial amount.                                   9       whatever it is on the actual drug that goes in the
10   BY MR. BREEN:                                        10       prescription; correct?
11       Q. Well, let's talk about Medicaid now.          11              MR. BERLIN: Objection, form.
12          You've already said that you're aware         12              THE WITNESS: The drug that goes in the
13   that the states were already increasing              13       prescription? I'm not sure what-­
14   administration fees. You just don't know when or     14       BY MR. BREEN:
15   where or who.                                        15           Q. Let's say it's vancomycin.
16          So do you even know if it was necessary       16           A. Okay.
17   to increase them any more in the post-2000           17           Q. Let's say that the inflated
18   timeframe in connection with the Abbott drugs?       18       reimbursement is $10 on the bag of fluids and $100
19       A. Well, again, under Medicaid and under         19       on the vancomycin.
2a   the DRA, states were supposed to review them and     2a              MR. BERLIN: Objection, form.
21   states did undertake the review, Texas undertook a   21       BY MR. BREEN:
22   review that here's what we need to do if the ORA     22           Q. Every time the vancomycin is

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 1   administered, you need another bag of fluids;        1    case, and in those situations even at current
 2   correct?                                             2    levels ofEAC the dispensing fees are even more
 3       A Correct.                                       3    inadequate than they are for pills and tablets.
 4       Q. Anyway, so let's say that Abbott decides      4    BY MR. BREEN:
 5   to report higher prices that results in a higher     5       Q. Okay. So for the vancomycin again on
 6   AWP one year, and then the next year it decides      6    Exhibit 4, your Exhibit 4, Deposition Exhibit 12,
 7   no, we're going to lower them, we're going to        7    forgetting the twenty percent range between an
 8   report prices that are consistent with our market.   8    actual WAC and an average wholesale price,
 9          Is it your testimony that that, those          9   forgetting that range, how much are the states
1a   two decisions by Abbott to raise it and then lower   1a   going to have to increase dispensing fees on
11   it again, will somehow cause the Medicaid programs   11   vancomycin, Abbott's vancomycin, as a result of
12   to have to pay a higher dispensing fee?              12   Abbott reporting prices that are closer to market
13       A I'm not addressing the raising and then        13   based upon the studies you have reviewed?
14   lowering, but I was addressing the lowering to       14      A There was not numbers given in the
15   levels commensurate with what Dr. Duggan has         15   studies that I reviewed.
16   proposed.                                            16      Q. Okay. So my question then is if you're
17       Q. Well, when you say lowering the levels        17   going to criticize Dr. Duggan's claim-by-claim
18   commensurate with what Dr. Duggan has proposed, is   18   drug-by-drug NDC-by-NDC specific damages model,
19   it your opinion that Dr. Duggan's proposal is not    19   then can you point to any specific quantitative
2a   consistent with the regulation that required         2a   evidence that an economist would utilize to
21   estimation of acquisition cost based upon prices     21   determine how much in your alternate world the
22   generally and currently paid in the marketplace?     22   Medicaid programs are going to, according to you,
                                             Page 567                                                   Page 569

 1      A. I haven't reached an opinion on that.         1 increasing dispensing fees on vancomycin based
 2          But I am saying that the total               2 upon Abbott's reporting lower prices?
 3   reimbursement is being reduced to a level that      3     A. Again, to come to the opinions that I
 4   threatens the access by Medicaid patients to        4 came to in my report, I relied on the testimony
 5   healthcare services to approximately the same       5 and the evidence in the reports that the people
 6   degree that those services are available to         6 who know the state Medicaid systems better than I
 7   nonMedicaid patients.                               7 do, better than Dr. Duggan does, better than you
 8      Q. That's your opinion?                          8 do, the people who are actually having to make the
 9      A Yes.                                           9 rules day in and day out, had stated that if you   '
10      Q. But you don't have one scintilla of          10 have drastic reductions, or even not drastic
11   quantitative evidence that you've actually         11 reductions, if you had significant substantial
12   developed yourself or reviewed that somebody else 12 reductions in ingredient cost, you will also have
13   did relating to the drugs at issue in this case    13 to worry about what's happening on the dispensing
14   that supports that opinion; do you?                14 fee side, lest you have problems with access.
15          MR. BERLIN: Objection, form.                15        And your expert, Dr. Schondelmeyer, says
16          THE WITNESS: Again, I disagree.             16 exactly the same thing in his California report.
17          For example, the Myers & Stauffer           1 7 That reductions in the ingredient cost, modest
18   reports speak to the inadequacy at existing levels 18 though they were compared to Dr. Duggan's
19   ofEAC in the dispensing fees for pills and         19 reduction in ingredient costs, the reductions in
2a   tablets and then go on to say that this problem is 2 a ingredient costs in California were going to
21   going to be worse for infusion drugs, which are    2 1 require increases in dispensing fees, or else, I
22   the drugs like the drugs that are at issue in this 22 believe in Dr. Schondelmeyer's words, you were

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